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                 Employee Policy Manual


         City of Lexington Police Department
                  Lexington, Mississippi


                  Revised and Approved
                      February 2, 2021
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                                      INTRODUCTION
It is the goal of the Police Department of the City of Lexington, Mississippi to provide the
community with police service which will engender confidence and peace of mind among the
citizens. The rules set forth in this manual are intended to help achieve that goal and to make the
provision of police service safe for both members of the police force and the community. These
rules merely indicate the minimum level of acceptable conduct for police force members.
Compliance with these rules is expected as a condition of employment, and failure to abide by
these rules may lead to disciplinary action.
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                       LAW ENFORCEMENT CODE OF ETIIICS
 As a law enforcement officer, my fundamental duty is to serve mankind; to safe-guard lives and
  property; against oppression or intimidation; the peaceful against violence or disorder, and to
            respect the constitutional rights of all men to liberty, equality, and justice.

  I will keep my private life unsullied as an example to all; maintain courageous calm in the face
  of danger, scorn or ridicule; develop self-restraint; and be constantly mindful of the welfare of
  others. Honest in thought and deed in both my personal and official life, I will be exemplary in
    obeying the laws of the land and regulations of my department. Whatever I see or hear of a
    confidential nature or that is confided to me in my official capacity will be kept ever secret
                     unless revelation is necessary in the performance of duty.

 I will never act officiously or permit personal feelings, prejudices, animosities, or friendships to
    influence my decisions. With no compromise for crime and with relentless prosecution of
criminals, I will enforce the law courteously and appropriately without fear or favor, malice or ill
        will, never employing unnecessary force or violence and never accepting gratuities.

I recognize the badge of my office as a symbol of public faith, and I accept it as public trust to be
  held as long as I am true to the ethics of police service. I will constantly strive to achieve these
 objectives and ideals, dedicating myself before God to my chosen profession, law enforcement.




                                                                                     Officer's Name




Note: This code has been officially adopted by the International Association of Chiefs of Police
and many law enforcement agencies.
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                                  RULES OF CONDUCT

The following Rules of Conduct apply to all members of the police force, regardless of their
rank, position, or responsibilities. Each member shall make every effort to abide by these rules
and to assist other members to do so as well. References to "he" or "his" are for convenience
only, and the Rules shall apply equally to both male and female members.

   1. A member is charged with the duty to conduct himself at all times in accordance with the
       Law Enforcement Code of Ethics, which provides the guidelines for personal and official
       conduct. A member will be held responsible for any act or omission specifically required
       or prohibited in these and other applicable rules, regulations, directives, and procedures
       of the department.
   2. A member shall promptly obey all lawful and proper ·orders and instructions issued by a
       superior officer or a recognized higher authority, however transmitted or received.
       Lawful and proper orders and instructions are those which conform to established law,
       ordinances of the City, and policies of the Police Department.
   3. A member shall obey all municipal ordinances and all state and federal laws, and no
       command or supervisory member shall issue orders contrary to such laws which will
      obviously result in illegal action by a subordinate, except where necessary to affect the
      saving of human life.
  4. A member of the Department will not allow his decisions ,o r actions to be affected by
      prejudice of race, color, sex, religion, or political belief Members shall not refer to any
      person in a derogatory manner because of his race, color, sex, religion, or political belief
  5. A member in contact with the public shall conduct himself with dignity, courtesy, and
      efficiency. A member of the Department shall not use uncivil, harsh, profane, or vulgar
      language when dealing with a member of the public.
  6. A member shall be civil and respectful to officers of superior rank, whether of this
      department or another. A member shall be dignified, courteous, and cooperative with
      other members of the Police Department and with officials and members of other
      governmental and law enforcement organizations.
  7. A member shall be honest and truthful at all times. A polite declination to comment shall
      be.used in those cases where a member should not divulge confidential or critical
      information.
  8. A member shall not display cowardice irt the line of duty or in any situation in which a
      member of the public might be subject to physical danger.
  9. A member shall not knowingly associate or have any dealing with criminals, racketeers,
      gamblers, or persons engaged in unlawful activities; a member shall not frequent or
      operate places of questionable character, either while on or off duty, except when
      necessary in the official performance of duty.
  10. A member shall not engage in any illegal, immoral, or indecent conduct, or in any
      activity which would tend to reflect discredit upon the Police Department.
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  11. A member shall not accept awards, gratuities, or any article of value as payment for
       favors or services rendered in connection with his official duties unless approved by the
       Chief of Police.
 12. A member shall not accept or solicit, or knowingly cause to be procured, a testimonial of
       any kind relative to his performance of police duties, except with the permission of the
       Chief of Police.
 13. A member shall not be absent from duty without properly authorized leave.
 14. A member shall be punctual in reporting for duty or performing any official act.
 15. A member shall be alert throughout his tour of duty and shall prepare himself by having
      adequate rest and sleep prior to reporting for duty. A member shall not sleep while on
      duty without specific and proper authorization.
 16. A member shall not use his off-duty time in any manner that renders him unfit for the
      proper and efficient performance of his duties.
 17. A member shall treat as confidential the official business of the Department. He shall not
      impart it to anyone except for those for whom it is intended or under due process oflaw.
 18. A member shall not write or furnish material concerning police matters for publication or
      for broadcast without approval of the Chief of Police.
19. A member off duty is forbidden to use intoxicants to a degree or in such a manner as to
      discredit the Police Department, or to cause him to be unfit for duty under emergency
      circumstances, or as otherwise provided for in this Manual.
20. A member shall not consume any intoxicant while on duty except when required in the
     performance of duty. A member while assigned to duty in civilian clothes may use
     intoxicants, if this is absolutely necessary in the performance of duty. Under no
     circumstances shall medically defined intoxication be considered justifiable.
2 1. A member in uniform shall not enter any premises, the primary purpose of which is to
     sell or store intoxicants, except in the immediate performance of police duty.
22. A member shall not have intoxicants on his person while on duty or in uniform, or in or
     on any Police Department building or vehicle, except for evidentiary purposes.
23. A member shall not report for duty under the influence of intoxicants or with the odor of
     intoxicants on his breath. Either condition shall cause the member to be considered unfit
     for duty. Superior officers shall not assign to duty any member in unfit condition due to
     the use of intoxicants and shall immediately relieve of duty, without pay, any member
     found on duty in such unfit condition.
24. A member shall not use narcotic, hallucinatory, stimulating, or dangerous drugs while on
     duty or off duty, unless prescribed by a physician for illness.
25. A member shall not engage in gambling of any form while on duty, or at any time or
     place prohibited by law, except as required in the pursuit of bis duty or as required by his
     duty or as required by his commanding officer.
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 26. A member shall maintain personal habits of cleanliness and hygiene; his hair shall be
      neatly trimmed and he shall be clean shaven at all times, except when necessary for the
      performance of duty or by approval of the Chief of Police.
 27. A member may remove his headgear while in the patrol car, at church, attending a
      funeral, a wedding, prayer in a public place, eating a meal, while at Headquarters, or
      while in court. For any official business such as issuing traffic citations, checking a place
      of business, making an arrest answering a call, etc., the member will be required to wear
      the headgear.
 28. A member on duty shall be properly uniformed and neat and clean in personal
      appearance. This rule applies to off-duty status, if the uniform is wom
 29. A member shall wear uniform in accordance with appropriate procedural instructions.
 30. A member in uniform shall not carry an umbrella, package, or like object, except when
     necessary for the performance of duty.
 31. A member shall not smoke or chew gum while in the process of conducting police
     business such as issuing traffic citations, working traffic assignments, interviewing
     complaints or suspects while at headquarters, affecting an arrest, checking a place of
     business, etc. Smoking while on routine patrol is not accepted
32. A member shall not chew tobacco while on duty.
33. A member shall not incur personal debts that he is unwilling or unable to pay.
34. A member shall not incur liability chargeable to the Police Department without proper
     authorization. Pecuniary liabilityfor such improper or unauthorized actions shall rest
     with the member incurring the debt, disciplinary actions notwithstanding.
35. A member shall not act as a co-maker, guarantor, or endorsee for any money borrowed
    by another member, nor shall he induce or atteml_)t to induce another member to act as
     such for money borrowed by himself. This prohibition shall not apply to transactions of
    the Municipal Employees Credit Union.
36. A member shall not act as a surety on a bond or recognizance for any person arrested
    other than himself or members of his immediate family. He shall notify his own unit or
    watch commander of such actions within four hours of its occurrence.
37. A member shall not borrow money or other valuables from another member, nor shall
    members make loans of money or other valuables to another, except in amounts totaling
    $5 or less or where such loan involves, tools, machines, or similar objects for immediate
    use and where such items are not held in security for pawn.
38. A member shall not recommend or suggest to any citizen the services of any lawyer,
    bondsman, or undertaker.
39. If a member or any of his immediate family becomes involved in a situation requiring
    police attention, he shall summon another officer to handle the situation, unless of an
    emergency nature.
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40. A member shall not join or associate with any organization designed to interfere with the
     orderly process ofjustice or government by illegal means, nor any organization which
     advocates prejudice against any racial, religious, or other group.
41 . No member shall use any departmental property for his own private benefit. No member
     will conduct private business while on duty except in urgent matters, and then only with
     the approval of his commanding officer.
42. A member of the Police Department shall not communicate to any person any
     information which may enable a person to escape from arrest or punishment, or that may
     enable him to dispose of or secrete any goods or other valuable things stolen or otherwise
     unlawfully obtained.
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                         PATROLMEN RULES OF CONDUCT
While all members of the police force are required to follow the Rules of Conduct as set forth in
the previous section, the following Patrolmen Rules of Conduct are directed specifically to those
members of the police force who are assigned general patrol or beat duties. Reference~ to "he" or
   "his" are for convenience only, and these rules shall apply equally to both male and female
                                           members.

  A patrolman shall be responsible for the efficient performance of his duties in conformity with
the policies and procedures of the Department. His duties and responsibilities include, but are not
                                    limited to the following:

    1. He shall exercise authority consistent with the obligations imposed by his oath of office
       and be directly accountable to his assigned supervisor, promptly obeying all legitimate
       orders.
    2. He shall maintain harmonious relationships with his associates by courthouse and
       considerate demeanor, guarding himself against envy, jealousy, or other unfriendly
       feeling, and refraining from all careless communications to their discredit.
   3. Where such discretion is permitted, a member shall coordinate his efforts with those of
       the other members of the sector, watch, or other department elements so that their
       teamwork may insure continuity of purpose and optimum achievement of service
       program objectives.
   4. He shall communicate to his superiors and to his co-workers all information he may
       obtain which is pertinent to the achievement of common objectives, including when
       applicable, the supervision and guidance of school crossing guards or other civilian
       members of the Department.
   5. He shall be subject to recall at any time in case of special needs or emergencies.
       Ordinarily his hours of duty will be established by his superiors. He shall respond
       punc~lly to aU of his assignments.
   6. A patrolman shall be responsible to his supervisor within bis assigned patrol beat, for:
           a. Protection of life, property, and individual rights . .
           b. Prevention and suppression of criminal activity and disturbances.
           c. Recovery and return of stolen and lost property.
           d. Apprehension and assistance in the prosecution of offenders.
           e. Prevention of accidents and the regulation of traffic.
           f Preservation of the peace.
           g. Other service to the public as requested or necessary.
   7. He shall, by continual study and research, be familiar with the techniques and ideas
       designed to improve police performance.
   8. He shall assist in the department programs for:
           a. Improving efficiency and cooperation in areas of common responsibility.
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                                             POLICY                                                                                               Page 9 of 58

                              USE OF SAFETY BELTS/RESTRAINING DEVICES
                                      IN DEPARTMENTAt YEHCCLES.        I.                                                      ..
 STATUS: Need to Reference                                                                                                      Effective Date:
                                                                                                                                Review Date:


 l.         PURPOSE

           To mf ·mize the possibility of !deaths or injury as a result of accidents involving drivers
                         •                               .'               I                   •



           and ~assengers in departmental vehicles. . ·
                        . .               .                               I
 IL        POLICY'

           There is available evidence fr~m ·the N .tional Highway Traffic Safe~ Administration
           (NHTSA) studies indica1ing that occupants we.aring seat belts have experienced 65 %
           fewer serious injuries and 50 % fewer cieaths than·occupan~ not wearing seat belts. There
           is also evidence that seat belts 1are effective in assisting office{l in maintaining proper
           contro_l of their vehicl~ Ill p~t and/or emergency high ~           -operations. It shall be
         · the policy of this agency that all personnel, including non-employees, shall wear the
         _5¥ety belt restraining system while operating or ridi¢g a.passenger in a department ..                          as
           vehicle when the vehicle is in 0;1otlon, except where ~ifi~ly exempted .
              .,
III.      PROCEDURE

         .. :This policy shall not apply to persons occupying a seating position that is not equipped
                        a
             with safety belt assembly, or to any personnel possessing a written indication from a
            physician that for medical or physical reasons the person is unable to use the safety belt .           ,. .... .   f•'                                     :

            system.
                                                                              '
          Unless a replacement vehicle is' unavailable, no person shall operate a departmental
          vehicle in which any belt in the front seat is inoperable. it shall be the responsibility of
          the driver to· give notice of inoperable safety belts.          _..... .... __.. ·;;.;,;;.:.;;;.;.,;:.:.;.;;.;._;;;·,,., = --·-..:: .- --.;;.-~.::;;.
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                                               . - ...                                                                                                     -   .   .


         An office operating in an undercover capacity may be exempt only if in the judgement
         of the officer, the offic;er believes the use of the safety belt comprise their identity.                                   will




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            b. Advancing the departmental program for earning community confidence and
                support.
            c. Proper and economical use of departmental property and equipment.
 9. He shall acquire and record information concerning events that have taken place since his
       last briefing and be attentive to instructions.
  10. He shall, unless otherwise ordered, report to his supervisor for inspection, instruction, and
      dismissal at the conclusion of his tour of duty.
 11. He shall record his activity during his tour of duty in prescribed manner and shall
      complete and submit reports of crimes, motor vehicle accidents, and other incidents in
      conformity with established procedures.
 12. He shall supervise and inspect all public places and activities within his assigned area and
      enforce all laws, ordinances, and regulations concerning their operations.
 13. He shall devote the maximum possible time to the performance of his basic duties,
      remaining in police facilities only when necessary.
 14. Before beginning his tour of duty, he shall inspect the vehicle assigned to him and report
      any damage or deficiency. He shall not operate any vehicle which is legally not fit or
      unsafe for use.
 15. During his tour of duty, he shall use the vehicle assigned to hi in the most safe and
     economical manner, avoiding hazardous or careless operation.
 16. He shall promptly report, on prescribed-forms, all accidents involving the vehicle
     assigned to him or any vehicle he is using, operating, or causing to be towed or
     impounded.
17. When assigned to tasks other than general patrol, he shall diligently perform the duties
     necessary to efficient, effective, and economical operations.
18. He shall receive, service, and prepare returns on citations, writs, and documents
     providing information to enable subsequent service if unable to service.
19. He shall exert every effort to satisfy the needs of citizens requesting service, assistance,
     or information, and courteously explain any instance where jurisdiction does not lie with
     the Police Department, suggesting procedures to be followed, and assisting further if the
     citizen is ill, confused, illiterate, or unable to do so for good reason.
20. He shall insure the civil treatment and observance of legal rights of all persons coming
     with his scope of authority.
2 1. He shall be accountable for the securing, receipting, and proper transporting of all
   · evidence and property coming into his custody.
22. He shall be diligent in his efforts to discover and suppress illicit traffic in liquor,
     gambling, narcotics, and prostitution, reporting such activity to his superiors when it is
     discovered.
23. He shall enforce traffic laws and ordinances and seek to eliminate conditions interfering
     with the safe and expeditious movement of vehicles and pedestrians. He shall be alert to
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      the need for improvement in traffic control and report defective traffic signs, signals, and
      devices or other safety hazards.
 24. When directing the movement of vehicular traffic, he shall take a conspicuous and safe
      position, making his signals clear and positive, utilizing the hand signals authorized by
      departmental procedures.
 25. He shall be sensitive to the conduct of youths and young adults and the existence of
     hazards affecting them and participate in the delinquency control effort.
 26. He shall be alert to community tensions of various types, notifying his superiors of
     potentially dangerous or undesirable situations and preventing disorder.
 27. He shall be alert to the conditions tending to cause crime, take preventive action, and
     notify his superiors of the situation and the action he has taken. He shall inform citizens
     of conditions which they can correct to prevent crime.
28. He shall determine the degree of security of business places after their normal working
     hours when necessary for burglary and fire prevention. He shall inspect selected
     buildings reported unoccupied to see that they are secure. If any evidence of tampering or
     entry is found, he shall immediately summon aid to search the premises and apprehend
     the trespassers.
29. He shall stop and interview any person whom he .reasonably and justifiable believes to be
     engaged in unlawful activity, request the re~on for his presence, and record his identity
     as prescribed. If he receives answers indicating a reasonable probability that a crime had
     been committed by the person, is refused an answer, or is met with resistance not
     warranted by the inquiry, he shall make an arrest, provided there is a legal basis for the
     arrest, or shall include the suspicious circumstances in a report that appropriate follow-up
     action may be taken.
30. He shall note and record the license numbers and description of vehicles seen under
     questionable circumstances and make an investigation.
31. He shall familiarize himself with his area of assignment and conduct a diligent patrol,
     accentuating prevention rather than apprehension, giving particular attention to locations
    most susceptible to the occurrence of crime or traffic accidents.
32. He shall become familiarize with the geography of the city, including public
    transportation routes, locations of streets and highways, prominent and important
    buildings and locations, transportation centers, and other information and assistance,
    when requested.
33. He shall confine his basic patrol efforts to his area of assignment. If required to leave for
    any reason, he shall request permission of his supervisor and the dispatcher prior to the
    time he leaves, or as soon as possible if in an emergency situation. He shall notify the
    dispatcher of any interruption to patrol activity and obtain permission to go out of
    serv1ce.
34. Upon discovery of a crime, he shall move promptly to apprehend the offender, either
    through individual effort or by full utilization of departmental resources. When pursuit or
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       apprehension is not feasible, he shall make a thorough investigation and speedily relay
       information to other units or agencies, normally through the Communications Center, to
       enlist their aid.
 35. He shall conduct a thorough investigation of all offenses within his area of assignment
       and scope of activity. He shall collect evidence and record data which will aid in
      identification, apprehension, and prosecution of offenders and the recovery of property.
 36. He shall be responsible for the movement of traffic as necessary at the scene of accidents,
      fires, and heavily congested areas when so assigned by the Communication Center.
 37. He shall enforce parking regulations in the downtown and other assigned areas, be
      responsible for the direction and movement of motor vehicle traffic to prevent or alleviate
      congestion at downtown intersections and other regulation and enforcement necessary for
      the safe movement of pedestrian traffic.
 38. He shall use radar machines/guns and other devices for speed law enforcement as need
      dictates. On each day that radar devices are used, they shall be properly tuned and
      checked for accuracy. Such accuracy checks shall be reported to the Communications
      Center where it shall be documented in the Radar Machine Log.
39. He shall provide prompt and adequate assistance to sick, injured, or destitute persons.
40. He shall be alert to the City' s responsibilities to keep public highways, streets, avenues,
     alleys, sidewalks, lights and signal&, public grounds, bridges, and viaducts open and/or
     operable, in good repair, and free from nuisance and shall cause notice to be given to the
     appropriate city, county or state agency concerning unsafe or improper conditions.
41 . He shall inspect places or activities where permits or licenses are required and shall take
     appropriate action in all instances where necessary authority has not been procured.
42. He shall note conditions which adversely affect the appearance, safety, and health of the
     community, enforcing applicable laws, ordinances, and regulations and/or making
     referrals to agencies having primary responsibility.
4 3. When detailed to the location of any assemblage of people, he shall be alert to prevent
     injury to persons, disorder, or damage property.
44. When in uniform, he shall assist in the movement of vehicles operating under emergency
     circumstances.
4 5. He shall take necessary and appropriate acti_o n whenever circumstances dictate~whether
     in or out of his assigned work area or on or off duty.
46. When any police officer makes an arrest, the subject's rights shall be read to him/her.
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              COMMAND AND SUPERVISORY PERSONNEL
1. The general command and supervision of personnel shall be the duty and responsibility
   of those persons so officially designated by the Chief of Police.
2. Responsibilities and duties of command and supervisory personnel are delineated below.
   They sh~:
        a. Exercise authority commensurate with their responsibility.
       b. Be considered a part of the Department's administrative staff arid shall function
           ·on behalf of management.
        c. Take proper police action concerning any violation of the law committed in their
            sight or reported to them for they are always policemen.
       d. Exercise authority with :firmness and impartiality and under no circumstances
           permit personal attitudes to influence decisions.
       e. Support the philosqphy that the people of the City are entitled to the highest level
           of police service the Department can provide and shall direct the efforts of their
           commands accordingly.
       f Set an example for all subordinates in sobriety, dignity, courtesy, discretion, skill~
           diligence, and the observance of proper discipline.
       g. Be diligent in obtaining the observance of the high ethical standards in the
           performance and conduct of personnel under their commands.
       h. Promptly obey and transmit all legitimate orders ofhigher authority, insuring
           uniform interpretation and full compliance, and convey both the intent and spirit
           of orders and directives.
       1. Perform such administrative duties as necessary, including planning, organizing,
           and directing the activities of their commands.
      J. Establish the required details and assignments necessary to carry out the functions
           of the responsibility and be guid7d in the assignment of personnel by the
           complement ayailable for assignment and the necessity for assigning personnel
           where they are needed.
       k. Maintain a harmonious relationship with other elements of the Department, allied
           agencies, and the public.
       1. Assist in the administration of the departmental programs for: training personnel,
           improving working conditions for optimum efficiency and morale, using
           personnel records and performance rating for individual guidance and
           improvement, recognizing outstanding personnel performance, improving
           efficiency and cooperation in areas of common responsibility, advancing a sound
           departmental program for earning community confidence and support, and the
           proper and economical use of department property and equipment.
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       m. Keep informed of the affairs of their commands at all times and be assured that
           the duties of subordinates are properly discharged.
       n. Maintain records to enable objective performance evaluations for personnel under
           their command.
       o. Sustain the actions of a subordinate when he is acting properly and within his
           rights.
       p. Support supervisory subordinates by taking appropriate action whenever the
           subordinates are conscientiously exercising their disciplinary responsibilities.
       q. Investigate, or cause to be investigated, all cases of alleged misconduct by
           personnel of their commands, taking appropriate action or making appropriate
          recommendations according to established procedures.
      r. Avoid, insofar as circumstances allow, censuring a subordinate in the presence of
          others.
      s. Submit to their respective superiors, in the prescribed form and detail, such
          reports as may be required to accurately reflect the problenis, services, and
          activities of their command.
3. Line and staff command responsibilities include the following:
      a. The exercise of staff supervision should not violate the principles of unity of
          command. Whenever a correction is to be made, it must be through the supervisor
          in command of the operation which requires correction. Except in the following
          situations, a staff supervisor should not issue direct orders to a subordinate who is
          operating under the command of a line supervisor:
               1. Emergencies demanding immediate action to save life or prevent injury, to

                   avoid jeopardizing the Department's reputation or those tending to
                   interfere with the accomplishment of the police purpose.
              ii. Routine dispatching or the giving of orders by a staff officer by authority
                   of one who has line responsibility.
      b. A staff supervisor shall report failure in the performance of duty of any line
          personnel to the commander or supervisor of the element involved and to his own
          immediate superior.
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                                       Vehicle Pursuits
    Efficient pursuit, interception and apprehension of criminal subjects are within the public
  expectation of efforts police must take to prevent and deter actions by subjects which threaten
 human lives. It is the policy of the Lexington Police Department to pursue fleeting subjects in a
    manner that is consistent with our moral and legal obligation to make reasona15Ie efforts to
 apprehend fleeing subjects with reasonable, prudent consideration for the safety of our officers
  and the community as a whole. Officers and/or supervisors shall terminate any vehicle pursuit
 when the dangerousness created by the pursuit itself outweighs any known threats and dangers
                             posed as a result of the suspect(s) escape.

   A. Primary Vehicle(s) - The first police vehicle actively pursuing and behind a fleeing
        vehicle
   B. Secondary Vehicle(s) - Any police vehicle not actively involved in the pursuit of a
        fleeing vehicle, but in a position to provide assistance by blocking arid safe-guarding
        other motorists on the roadway and setting up roadblocks to slow/stop an active pursuit.
   C. Emergency Equipment - devices in/on police vehicles that emit audible and/or visual
        signals to warn others of the presence of an emergency vehicle or used to signal traffic
        law violator or criminal suspect to pull to the right-hand side of the road.
1. Vehicle pursuits are initiated by police officers when a driver purposefully eludes the
   officer' s attempt to conduct a traffic stop by signaling the driver with blue lights and sirens
   when necessary to pull over.                  .
2. Officers deciding to actively pursue any vehicle must weigh the risk created by the pursuit
   itself against any risk and/or danger created by not immediately apprehending the suspect(s).
3. Officers shall consider the following in their decision to continue a pursuit:
       a. The seriousness of the original offense and its relationship to public safety;
       b. Time, day, visibility, and location of the pursuit;
       c. Availability of secondary and backup units;
       d. Weather and roadway conditions;
       e. Traffic conditions and pedestrian traffic;
       f The officer' s familiarity with the roads and location;
       g. Capability and quality of the police equipment including the police vehicle and
            communications equipment;
       h. Speed of the pursuit and evasive tactics used by the eluding driver;
       1. Type of vehicle being pursued. The pursuit of a motorcycle, all-terrain vehicle, or
            large commercial vehicle shall be terminated if the driver engages in dangerous
            evasive tactics unless the situation would otherwise allow the use of deadly force.
       J. The known identity of the eluding driver and the future probability of future
            apprehension if the pursuit was terminated
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4. Active pursuit of a feeling vehicle will be limited to a Primary vehicle and one Secondary
   vehicle, except as otherwise directed by a supervisor when circumstances exist that warrant
   the need for additional personnel. All officers actively involved in a pursuit will continuously
   use the emergency lights and sirens on their police vehicle. Police vehicles not equipped with
   emergencyI
               equipment shall NOT be involved in any vehicle pursuit.
5. The officer initiating the pursuit will serve as Primary Unit and be responsible for continually
   notifying dispatch via the police radio of the following:
           a. Direction of travel;
           b. Description of the vehicle;
           c. Number of occupants and any identifying information such as race and gend~r if
                 known;
            d.    Known offenses for which the driver is being pursued;
            e.    Speed and behavior of the fleeing vehicle;
            f.    Exact location of where the pursuit ends, and;
            g.    The need for emergency medical services for any person injured during or at the
                  completion of any pursuit.
6. Unmarked police vehicles and those vehicles not specifically designed for police-pursuit
      driving may only serve as the Primary Unit until a marked unit actively engages in the
      pursuit and the unmarked vehicle becomes the Secondary Unit. These specific police
      vehicles may serves as a s Secondary unit only until two marked pursuit-rated units are
      actively engaged in pursuit.
7. To avoid a pursuit altogether, marked and unmarked units may be used to box in a unaware
     suspect(s). Once an active pursuit is engaged, boxing in a suspect is NOT an option.
8. An active pursuit does not relieve nor protect the officer from the consequences of a reckless
     disregard for the safety of others.
9. All officers involved in a pursuit, either actively pursuing a fleeing vehicle or serving in a
     backup capacity, shall operate their vehicles with due regard for public safety of all citizens.
     Although officers actively engaged in a pursuit are not required to come to a complete stop as
     a red light, stop sign, or other controlled intersection, officers must ensure that other drivers
     have granted right-of-way to their vehicles before entering a controlled intersection.
10. All pursuing vehicles shall maintain an adequate distance to ensure adequate reaction and
     braking time.
11 . Officers shall NOT bump and/or ram a fleeing vehicle unless circumstances exist that justify
     the use of deadly force.
12. All officers involved in the pursuit, either actively involved or serving in a backup capacity,
     shall complete a written report documenting all of the facts and circumstances as to their
     involvement prior to the end of their shift.
13. Secondary Units will assume responsibility for continually advising dispatch of the details of
     the pursuit. Secondary Units will stay ready to assume the role as Primary Unit in the event
     the Primary Unit is no longer able to pursue.
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 14. Backup Units are not actively involved in a vehicle pursuit but serve to provide assistance to
     pursuing units by blocking intersections to direct the pursuit and protect other drivers in the
     roadway.
 15. Backup officers are those officers on the fringes of the pursuit and in the areas in which the
     pursuit is traveling. No unit shall parallel the pursuit route unless authorized by a supervisor.
16. Once an officer initiates a pursuit and advises the dispatch center, the dispatch shall:
       1.   Isolate pursuit related radio traffic to a specific channel and direct all other units to use
            another channel.
      11.   Provide another radio channel to dispatch and direct units not actively involved in the
            pursuit to that channel.
     111.   Request specific information from pursuing officers if the officers are not transmitting
            directly related to the pursuit so to advise and update the on-duty supervisor.
     1v.    Immediately advise a field supervisor of essential information so to ensure continuous
            monitoring of the pursuit.
      v.   Receive and record all incoming information on the pursuit and the pursued vehicle in
           the Dispatch Log.
     VI.    Coordinate and dispatch back-up assistance as directed by the field supervisor.
    Vil.   Notify neighboring jurisdictions, when practical, that the pursuit may extend into their
           locality.
17. Once notified of an active vehicle pursuit, supervisors will:
        1.   Continually monitor all radio traffic;
       11.   Decide if the pursuit may be continued or shall be terminated;
      111.   Direct backup units as necessary to provide assistance;
      1v.    Decide if a roadblock is a viable option and direct units to a location to setup, and;
       v.    Authorize additional personnel as deemed necessary based on the severity of the
             offense that justifies the pursuit.
18. The supervisor will conduct a review at the conclusion of any vehicle pursuit. The supervisor
    shall respond to the location where the pursuit ends or the officer's location of where the
    pursuit was terminated to complete "Vehicle Pursuit Incident Form". The supervisor will
    review the pursuit with regards to established policy a:nd forward the form to the Chief of
    Police via their Chain of Command. If the primary officer is the On-Duty Supervisor, the
    supervisor will complete the report and submit it to the Chief of Police for approval.
19. When the decision to terminate the pursuit is made, the primary officer and/or supervisor
    shall notify dispatch via the police radio that all units shall terminate. All police units will
    turn off their emergency equipment and pull to the side of the road and stop at the earliest
    safest place and advise the dispatcher of their exact location. Officers that were actively
    involved in the pursuit will wait for the supervisor to arrive and complete their incident
    review. All back up officers will simply return to duty once they have notified the dispatcher
    of their stop location. Pursuits shall be terminated when:
      1.   Driving against traffic on the wrong side of the road;
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     11.   Disregarding red lights, stop signs, and other traffic control devices, and;
     rn. Excessive speeds with respect to environmental and traffic conditions.
20. There is a malfunction of police equipment and/or the police vehicle;
21 . The offender is identified and the failure to apprehend the offender during the pursuit poses
     no immediate threat of death or seirous injury to another person;
22. The distance between the pursuing officer and the violator is so great that further pursuit is
    futile;
 23. The officer loses visual contact with the violator for an extended period of time.
 24. Officers shall not become involved in any pursuit when a passenger is present in the police
     vehicle that is not a sworn law enforcement officer. If it becomes necessary for the officer to
     become involved, the officer shall safely and responsibly remove the passenger from the
     vehicle in an area that is not an inherent threat to their safety.
25. Lexington Polee Department employees are subject to the guidelines and restriction set forth
     in this policy regarding pursuits and NOT to the policies and procedures of other agencies
     that pursue subjects into the City of Lexington.
26. Circumstances Regarding Pursuits Entering the City of Lexington
              1) Officers may only assist an agency in active pursuit coming into the City of
                 Lexington when:
                 (a) The pursuing agency has requested assistance or the officer observes the
                     pursuit prior to agency notification, and;
                 (b) The Chief of Police approves the assistance after considerati?n of pursuit
                     circumstances
             (2) Supervisors may grant permission for officers to serve a backup function by
                 allowing officers to:
                 (a) Block intersections to protect other motorists;
                 (b) Respond to the area of where a pursuit concluded to assist with the capture of
                     the suspect(s)
             (3) Dispatchers will contact the agency involved to begin sharing information; (due to
                 limited radio communications with other agencies, supervisors will reevaluate the
                 pursuit and terminate if necessary)
27. When a pursuit initiated by LPD Employees leaves the City of Lexington and enters another
    jurisdiction:
             (1) The primary officer will notify dispatch of direction of travel and jurisdiction
                 being entered;
             (2) The supervisor will evaluate the entire incident and decide if the ursuit sshpuld
                 continue or be terminated;
             (3) The supervisor will determine the number of unites to remain actively involved in
                 the pursuit of the decision is made to continue;
             (4) The dispatcher will notify the involved jurisdiction and request assistance.
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 28. Because of the close proximity of other jurisdictions, it is reasonable that other agencies may
     become involved in pursuits in the City of Lexington. Officers will notify dispatch when an
      officer from another agency becomes actively involved in the pursuit. The dispatcher will
     notify the supervisor for further instructions.
 29. In any incident where a pursuit enters the City of Lexington and then leaves the jurisdiction
     any officers that become involved in the active pursuit will terminate once the pursuit leaves
     the city if two or more vehicles from outside agencies are already involved. If only one
     vehicle from an outside agency in involved in active pursuit, the supervisor may authorize
     forth.er assistance and units to continue in active pursuit.
 30. Stationary Roadblocks are authorized to help minimize injury and/or property damage under
     the following criteria:
              1) Roadblocks may only be used with a supervisor' s approval;
              2) Roadblocks may_be setup when clear visibility exists to traffic in all directions
                   and to all roadway users;
              3) Roadblocks will only be used as a last resort by those officers trained in safe and
                   legal aspects of road-blocks;
              4) Emergency lighting shall be used continuously when a police vehicle is used as a
                  stationary road-block;
              5) Police Vehicles will NOT be occupied by any person when in position for a road-
                  block;
             6) Privately owned vehicles, or police vehicles not equipped with emergency
                  lighting, will NOT be used in a road-block;
             7) A reasonable escape route shall be established in such a manner to allow the
                  suspect vehicle maneuverability at a reasonable speed. Escape routes also serve to
                  direct the pursued vehicle to a location better suited to bring the pursuit to a safe
                  end;
             8) The suspect vehicle shall be allowed a reasonable stopping distance;
             9) All vehicles and persons not directly involved in the road-block shall be removed
                  from the immediate area;
             10) Officers will not place themselves in the road-block in such a position to be in-
                  line with the oncoming suspect vehicle.
31. The Command staff will collectively review and analyze all pursuits annually so to address
    policy, training, and equipment needs and document such analysis. In the event that no
    pursuits occurred during an evaluation period a simple memo shall be prepared to document
    that no pursuits occurred and any additional training that took place during the period.
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                    POLICE DEPARTMENT- USE OF FORCE
 1. The use of unnecessary force or abuse to prisoners or other persons is prohibited, but
     failure to use the proper force when necessary may be considered neglect of duty.
 2. The range officer or designee shall inspect all non-department issued weapons carried by
     police officers. All non-department issued weapons will be approved by the range officer
     or designee prior to being used for general police duty. If a weapon is deemed unfit for
     use, a memo will be sent to the Chief or his/her assistant stating the same.
3. The range officer or designee shall record the serial number and general description of
     the weapon(s) and name of the approving officer on the appropriate forms of any weapon
     carried by police officers, whether on-duty, off-duty, extra-duty, or overtime if such a
     weapon is not a Department issue. The only exception to this requirement shall be
    hunting and sporting weapons.
4. The range officer or designee shall inspect Department issued service revolvers on an
    annual basis. If, during an inspection, a weapon is found to be in substandard condition
    through improper care or abuse, the police officer to whom the weapon is issued shall be
    held financially responsible for any necessary repairs.
5. All police officers are required to qualify a minimum of twice a year on an approved
    firing range by an approved firearms instructor. A list of police officers failing to qualify
    will be forwarded to their supervisor for proper handling.
6. When a weapon is discharged and bodily injury or death of an individual occurs, the
    appropriate department will be notified and an investigation conducted.
7. All investigations of shooting incidents involving police officers where a person is
    injured or killed shall be conducted in accordance with regular investigation procedures
    and shall be directly supervised by an officer of the rank of Lieutenant or above.
8. A member shall never brandish a weapon, nor shall he remove his revolver from its
    holster, other than:
         a. To defend himself from death or serious injury;
        b. To defend another person unlawfully attacked from death or serious injury;
         c. To effect the arrest or prevent the escape, when all other means fail, of a
             convicted felon, or of a person who has committed a felony in the policeman' s
             presence;
         d. To kill dangerous animals, or to kill an animal so badly injured that humanity
             requires its release from further suffering;
         e. To give an alarm or to call assistance for an important purpose when no other
             sufficient means can be used; and
        f To engage in training or inspection and cleaning of the weapon.
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9. Auxiliary weapons will not be carried on any police officer's person or in Department
    vehicles without the approval of the Chief of Police.
  . Examples of Auxiliary Weapons are:
       a. A firearm carried in addition to the service revolver or its equivalent.
       b. A :firearm carried in addition to the regular :firearm carried by police officers
           assigned to non-general police uniform duties.

             Note: Weapons issued by the Department to aid in the performance of specific
             duties - for example, shotguns - shall not be considered as auxiliary weapons for
             purposes of these provisions.
10. No police officer will cany any type of fully automatic weapon on his person or in a
     Department vehicle unless so ordered by a supervisor.
11 . When using a chemical agent, the baton, or any other physical force in those instances
     that threaten the safety of a police officer or other persons, or to subdue and arrest
     combative individuals, the details of such use will be reported on an intra-office
     memorandum directed to the Chief of Police.
     Details will include:
         a. Type of force used.
         b. Reasons for the use of force.
         C. Extent of injury to the suspect.

         d. Other pertinent information the police officer wishes to include.
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1. Definitions
    A. Deadly Force - Any physical force that can reasonably be expected to cause death or
    serious bodily injury. Lethal force is an extreme measure and shall only be used in
    accordance with the law.
   B. De-Escalation - a ta~tic designed to place officers in a position of advantage when
    dealing with a/an irrational, unpredictable, or suicidal person.
   C. Excessive Force - force applied recklessly that is unreasonable in light of the facts and
   circumstances.
   F. Force - Any physical strike, or contact with an instrument of a person; any intentional
   attempted physical strike or instrumental contact that does not take affect; or any
   significant physical contact that restricts the movement of a person. The term includes:
   aiming of a firearm, discharge of a firearm, use of chemical agents, use of impact
   weapons, use of electronic control weapons, taking a subject to the ground, and any
   physical contact that includes control techniques. The term does not include escorting or
   handcuffing a person with minimal or no resistance. Use of force is lawful if it is
   objectively reasonable under the circumstances to affect an arrest, or protect the officer or
   other person.
   E . Non-Deadly Force - Actions not reasonably calculated under the circumstan~es to
   cause death or serious bodily injury.
   F. Probable Cause-The totality of facts and circumstances within a police officer's
   knowledge, of which he or she has reasonably trustworthy information, that would cause
   a prudent person to believe, under the circumstances show, that the subject has
   committed, is committing, or is about to commit an offense.
   G. Serious Bodily Injury - harm that creates substantial risk of death, serious permanent
   disfigurement, or loss or impairment of any bodily :function or organ.
   H. Unresisted Handcuffing - Incidents in which a subject complies with the officer' s
   verbal commands and/or unresistingly allows the officers to position their arms in order
   to apply handcuffs, or the subject positions their arm as commanded for the application of
   handcuffs.
   L Weapon - Any instrument, article or substance, including a vehicle, which, under the
   circumstances in which it is used, attempted to be used, or threatened to be used, is
   readily capable of causing death or other serious bodily injury.
2. Levels of Resistance
   The use of force by police officers is governed by the principle of"objective
   reasonableness" and is controlled by the basic elements of a reasonable officer' s
   perception and a reasonable officer' s response at the specific moment. Based on this
   principle, officers may use only the necessary force to accomplish legally justified
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    objectives, such as to make arrests and protect from injury or death bystanders, suspects,
    and other officers.
    Legally justified objectives, for which force may be used, include, but are not necessarily
    limited:
                    A. To preserve the public peace:
                    B. To defend themselves, or others against unlawful violence;
                    C. To prevent the comm.issi.o n of self-inflicted injury or suicide by any
                        person;
                    D. To make lawful arrests or searches and/or to overcome resistance to such
                        arrests or searches;
                    E. To prevent escape from custody, and;
                    F. To prevent or interrupt an intrusion on, or interference with the lawful
                        possession of property.
3. Application of Deadly Force
   A. Lexington Police Officers are authorized to use deadly force when:
                 i. There is immediate and serious danger of serious bodily injury or death to
                     an officer or bystander, or;
                ii. The suspect has demonstrated dangerousness by the previous use or
                     threatened use of deadly force.
   B. Instances when deadly force may be the appropriate response include, but are not
   necessarily limited to:
                 1.    The officer has probable cause to believe that the suspect has committed
                       a crime involving death or the infliction or threatened infliction of
                       serious bodily harm and contiimes to present an immediate threat of
                       death or serious bodily harm to others;
               11.     The officer has probable cause to believe that a fleeting felon poses an
                       immediate threat of deatli or serious bodily harm to the officer(s) or
                       others;
              iii.     When attempting to recapture an escaped felon whom the officer has
                       probable cause to believe that if the apprehension were delayed, there
                       would be an immediate threat of death or serious bodily harm to a
                       member of the community.


   C. Special Consideration concerning the use of deadly force include:

             1.   Suspicion and/or flight alone ARE NOT sufficient objectives for the use
                  of deadly force;
            11.   Officers are not justified to use deadly force to affect the arrest of a
                  misdemeanor offender; unless the arrest is met with resistance by the
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                    suspect that escalates to the point the officer must defend himself or
                    another person from death or serious bodily injury;
            111.   Whenever possible, the officer will announce their intention to arrest
                   and/or use force of any type;
            1v.    Officers shall not use deadly force when it appears likely that an innocent
                   person may be injured except in a situation that is imminently life
                   threatening to the officer or another person;
             v.    Officers may unholster and display their weapons when the possibility of
                   danger to themselves or another person exists;
            vi.    Deadly force shall NOT be used as a warning or threat or with the intent
                   to maim or cripple a person.
           vu.     "W a.ming Shots" are the intentional discharging of a weapon for the
                   purpose compelling compliance. WARNING SHOTS ARE STRICTLY
                   PROHIBITED.
           vm.     Firearms shall NOT be used to shoot from or at a moving vehicle, unless
                   no other reasonable means of force exists for the emergency circumstances
                   at hand.

   D. Choke Holds and Neck Restraints
   Neck restraint and choke hold techniques are intended to temporarily incapacitate a
   person by restricting an individual's ability to breathe. They are applied by exerting
   pressure on one or both sides of one' s neck to inhibit blood flow through the carotid
   arteries and air flow through one' s airway and is typically accomplished with use of one's
   hands or constricting instrument.
   Because of the possibilitv of incorrectly applving these types of force and the effects such
   as misapplication could happen, the use of these types of restraints are prohibited as a
   less-than-lethal force option.

4. Deadly Force Incident Response
   When incidents involving the use of deadly force occur (including the intentional
   discharge of a firearm where no injuries occur), all officers will assist in every way
   possible with the investigation. This including remaining in-service for call taking once
   the scene has been secured and command of the scene has released officers not directly
   involved in the incident or its investigation.

   A. Officer Responsibilities- officers directly involved in a deadly-force incident shall:

     1.    Make all reasonable attempts to secure the suspect(s) and scene for the safety of
           bystanders and responding back-up first responders. Suspect(s) that have been
           shot by officers shall be handcuffed;
     11.   Notify dispatch via the police radio of the incident and request emergency
           medical assistance;
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            111.    Refrain from making any statements to the media, other officers, or supervisors
                    beyond the initial briefing of the first responding supervisor;
            IV.     Refrain from discussing the matter between ·officers or witnesses (if more than
                    one officer);
            v.      Refrain from completing any reports or non-administrative statements for at least
                    twelve (12) hours.

       B. First Responders Responsibilities - first officers not directly involved in the deadly-
        force incident that respond to the scene shall:

             1.      Ensure the safety of all officers involved;
            11.      Establish a scene command and begin setting a perimeter (perimeters should be
                     set larger than what is actually needed to provide investigators with additional
                     space to conduct the investigation);
        iii.         Establish a crime-scene log and record all persons entering and exiting the scene;
        IV.          If suspects are not in custody or not on scene, begin transmitting descriptive
                     information (including personal and vehicular descriptions) to dispatch to be
                   . broadcast to other officers and nearby law enforcement agencies;
            v.       Only relinquish command of the scene to a responding ·supervisor.

       C. Dispatcher Responsibilities - dispatchers notified of an officer involved deadly-force
incident shall:

            1.     Immediately limit traffic on the radio channel to emergency traffic only for
                   officer(s) on scene and open another channel for other traffic;
         11.       Notify area units to respond and secure the scene;
        111.       Notify the on-duty supervisor to respond to take command of the scene;
        IV.        Continuously monitor radio traffic and log all radio translnissions in the dispatch
                   log;
         v.        Immediately notify the Chief of Police via telephone.
        VI.        Notify any additional Command Staff as directed by established Dispatch
                   Standard Operating Procedures
       VIL         Upon approval of Chief of Police and/or Commander and as directed by the on-
                   duty supervisor, contact the Mississippi Bureau of Investigation and request
                   investigators respond to the scene.

       D.   Supervisor Responsibilities - supervisors responding to the scene shall assume
       command of the scene and:

            1.     Request additional resources and medical assistance as needed;
        11.        Move officers involved to a quiet location to remove them from the scene and
                   arrange for their transportation back to the police station;
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         111.   Interview the of:fi.cer(s) involved regarding the facts of the incident so to ascertain
                a brief understanding of the incident. A more detailed briefing will be conducted
                at a later time;
         1v.    Advise of:ficer(s) involved that an investigation will occur concerning the
                incident, and that they may seek legal counsel;
          v.    Advise the officer(s) involved to refrain from discussing the incident with anyone,
                except agency personnel or agency attorney, or department investigator until the
                preliminary investigation is concluded;
         vi.    Notify Command Staff and investigators of details regarding the incident and seek
                further instruction;
        VII.    Upon notification of the Chief of Police, or Commander, ensure the on-duty
                dispatcher has notified the Mississippi Bureau of Investigation and requested that
                investigators respond to the scene;
       Vlll.    Allow the involved officer(s) to notify their families about the incident as soon as
                possible.
                                                                i
E. Employee Intervention
Any employee present and observing another officer using force that is clearly beyond that
which is objectively reasonable under the circumstances and/or are clearly in violation ofthis
policy and/or law, shall, when in a position to do so, intervene to prevent the use of unreasonable
and/or excessive force. An employee who observes another employee use force that exceeds the
degree of force permitted by law and policy should promptly report the incident to the Chief of
Police via their chain of command.

F. Removal From Duty
Any employee whose actions, omissions, or use of force, while in an official capacity, lead to the
death or serious bodily injury of any person, or if another person dies while in one's custody,
they shall be immediately removed from any line-duty assignment pending an administrative
review as directed by the Chief of Police.
Any police officer whose use of force causes death or serious bodily injury shall be placed on
administrative leave pending the completion of any internal investigation requirements. The
Chief of Police retains .the right to immediately allow any ·officer on administrative leave to
returnto normal duty, or other light-duty assignment, prior to the completion of the internal
investigation.
All officers directly involved in an incident where deadly force is employed, shall undergo
counseling and evaluation by a mental health professional as soon as practical after the incident
before his or her return to normal duties. After the counseling sessions, the mental health
professional will advise the agency:

                A Whether it is in the officers' best interest to return to unrestricted duty, be
                placed on administrative leave or light duty, and for how long;
                B. The best continued course of action going forward.
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The Lexington Police Department encourages employees, officers, and family members involved
in incidents of deadly-force on in-custody deaths, to take advantage of available counseling
services and peer support groups. In any case where such an incident occurs (whether or not
death of an individual occurs), the Lexington Police Department will:

           a. Administratively investigate the incident as soon as practical;
           b. Request and assist the Mississippi Bureau of Investigation in the criminal
              investigation;
           c. Brief other agency members concerning the incident to minimize rumors. Agency
              members are encouraged to show the involved officers their concern;
           d Respond to the media inquiries and release appropriate information regarding the
              incident to local media representatives;
           e. Request that involved officer(s) consider having phone calls answered by
              someone else for several days, if their names are released to the public.
           f. Supervisors will monitor the behavior of unit members for symptoms of post-
              traumatic stress disorder or changes in behavior that suggests the members are
              having difficulty with stress regarding the incident. Supervisors will report; to
              their chain of command, any behavior changes that might indicate a need for the
              affected officer to seek assistance or counseling from a mental health professional
              upon a reasonable belief that stress may be disrupting their job performance.

   G. Reporting Use of Force
    Any use of force, above and beyond simple officer presence and dialogue, shall be
   documented in the officer' s mvestigative reports as evidence to the behavior and justification
   of the use of such force. Specific instances in which reports must be completed at the earliest
   reasonable time include, but are not limited to:

            a. Anytime a firearm is discharged, except during training exercises;
            b. Anytime actions by an officer result in, or allegedly result in, any injury or death
               of another person;
            c. Any force through the use of lethal or less lethal weapons to include firearms,
               chemical agents, electronic weapons, or any other reasonable object used in an
               emergency situation;
            d. Any force through the use of weaponless physical tactics to include pressure
               points and subject control techniques, combative handcuffing techniques, and
               tactical escort techniques used on non-compliant subjects.

Any use of force required to be documented shall be immediately reported via the police radio to
the dispatcher and the on-duty supervisor once the situation is under control and compliance
gained by all subjects. Supervisor notification may be done via the police radio, telephone, or
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 verbally if a supervisor is on scene. Supervisors shall review and approve Use of Force Reports
 once complete.

            ►   Use-of-Force Reports
                All incidents that include force greater than Umesisted Handcuffing., including the
                aiming of a firearm or ECW, shall have a Use-of-Force Report compkted. The
                Use-of-Force report is a supplemental report attached to the Incident Report.
                Use-of-Force reports are only for those incidents where the force is directed at a
                human being.
            ►   Specific Reporting Requirements for Tasers
                When a taser is deployed, the officer shall in addition to the above state
                requirements collect the used cartridge as evidence and enter the cartridge
                information in the property section of the Incident Report notating specifically the
                serial number of the cartridge for tracking.

H. Application of Force -Animal Control
Lexington Police Officers are authorized to use firearms to prevent roaming at large by
obviously mad or vicious animals and/or to relieve the animals so badly injured that it cannot
reasonably survive from injuries causing prolonged suffering. Officers shall notify their direct
supervisor when reasonably able prior to use of a firearm with regards to animals. Officers called
to discharge a firearm against an animal shall complete an Incident Report.

I. Administrative Review of Uses of Force
All Use of Force Reports shall be submitted to the reporting officer's Supervisor through their
respective chain of command. The supervisor shall review the report for accuracy, content,
thoroughness, and compliance to applicable policy and law. Once reviewed and approved by the
Supervisor, the report will be forwarded to the Chief of Police.

Cases involving Uses of Deadly Force will be independently investigated by the Mississippi
Bureau of Investigation for review of applicable state law.

The Chief of Police will review the reports for compliance to applicable policy and law and also
identify areas of concern with regards to possible failures in policy or specific patterns of
behavior of employees. If issues and concerns arise, the Chief of Police shall issue needed
adjustments and changes.

Annually, all Use of Force reports for the prior year will be collectively reviewed and audited by
Command Staff in an effort to identify patterns or trends of behavior and force that could
indicate a need for additional training needs, equipment upgrades, and/or policy modifications.
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                                                                                              27




                            USE OF NON-LETHAL FORCE
The purpose of this policy is to provide police officers with guidelines on the use of non-lethal
  force. It shall be the policy of this department that an officer uses only that physical force
                reasonably necessary to control a situation or to affect an arrest.

  o When in the exercise of the police authority, an officer strikes or inflicts injury upon a
    person or prisoner, the officer shall, besides completing appropriate police reports:
         o Provide needed medical treatment to those injured.
         o Immediately or as soon as possible, report the use of force or injury to a
            supervisor for appropriate review.
 1. Impact Weapon:
    The policies for carrying and use of impact weapons are as follows:
        a. No officer shall carry an impact weapon in which he/she has not had annual
            certified training.
        b. The impact weapon should be carried in the baton ring or in a low profile position
            when the baton is not being used.
        c. At no time shall an officer unnecessarily brandish or use the impact weapon as an
            intimidation device unless the officer is attempting to prevent the further
            escalation of force.
        d. Any time an officer finds it necessary to strike a subject with an impact weapon
            for purposes of control, the officer will contact a supervisor as soon as possible to
            inform the supervisor of the incident.
        e. The supervisor (or an officer in the event a supervisor is not available) shall have
            an injured subject transported to the nearest medical facility for medical attention.
 2. Chemical Agents (CS, CN, Teargas, OC, or other agents):
    The policies for carrying and the use of department approved chemical agents are as
    follows :
        a. No officer shall carry any chemical agent for which he/she has not had annual
            certified training.
        b. The chemical agent should be carried in an appropriate pouch and never displayed
            or pointed at another individual in the form of horseplay.
        c. At no time shall an officer unnecessarily brandish, or use the chemical agent as an
            intimidating device unless the officer is attempting to prevent further escalation of
            force.
        d. Application of chemical agents against large groups of people will be at the
            command of the Chief of Police or the designated commander.
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       e. Any time chemical agents are used for controlling an offender, the application of
           the ch~mical agent will end when the offender discontinues resistance or
            aggression.
       f. When an officer books a subject who has been exposed to chemical agent, the
           officer will advise the jail personnel to prevent the unnecessary contamination of
           other jail occupants or custody personnel.
      g. Any time an officer finds it necessary to use ch~mical agent for subject control,
           the officer will contact supervisor as soon as possible to inform the supervisor of
           the incident.
      h. In the event OC is used to control a combatant subject, the supervisor (or officer)
           will transport subject to nearest medical facility if symptoms have not dissipated
           in reasonable amount 9ftime. All subjects will be offered water within a
           reasonable amount of time if exposed to OC.
3. Handcuffs and Restraints:
   The departmental policies for the use of restraints are as follows :
      a. All subjects taken into custody should be handcuffed behind their back and the
          handcuffs double-locked. This is to ensure the safety of the officer or other
          citizens. The exceptions to this rule are: when the subject has an injury that does
          not permit his/her arms to move behind the back; when the subject' s age, physical
          condition, or physical limitations may also indicate a change in this procedure or
          when the arrest environment is tactically unsafe for the officer.
      b. If an officer observes or the subject complains that the handcuffs are too tight, the
          officer is to ensure that unnecessary tightness does not occur.
      c. To ensure proper safety for officers, all subjects will be handcuffed before being
          searched.
      d. Except under exceptional circumstances, officers should not handcuff a subject to
          fixed objects such as posts, vehicles, buildings, etc.
      e. It is not uncommon for an officer to arrest a subject, place him in restraints, and
          then have the subject start to resist. If an officer does encounter this type of
          resistance, the officer should utilize control techniques to prevent injuries to the
          officer or injuries to the subject. However, the control techniques should be
          limited to those which would not be construed as excessive force.
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                                                                                             29




                            THE USE OF BODY CAMERA
The purpose of this policy is to provide police officers with the guidelines on the use of a body
camera. It shall be the policy of this department that each officer should wear a body camera on
                                          duty at all times.

  Officer Safety takes precedence over recording events. O~cer safety shall be the primary
consideration when contacting citizens or conducting traffic stops, not the ability to record an
                                           event.

  e  Officers are advised to tell citizens they are recording when asked. Private Citizens do
     not have reasonable exception of privacy when talking with police officers during the
     scope of an officer's official duties, even when the contact is in a private residence. An
     exception to this guideline is during citizen complaint investigations. Officers and
     supervisors must inform complainants and witnesses they are being recorded
  • Unless unable, Officers shall record enforcement related contact which include: traffic
     stops, pedestrian stops, detentions and radio calls.
  ~ Body worn cameras shall only be used for work related activity. Officers shall not record
    in areas where there is an exception of privacy including: locker rooms, restrooms,
    briefing rooms, and break rooms. Additionally, officers should avoid recording exposed
    areas of a citizen's body.
  0 Officers will avoid, when possible, recording people who are unrelated to the police
    purpose. Additionally, Officers will take into account IIlPPA considerations when
    dealing with medical and psychiatric patients. Officers should normally tum their camera
    off when at a medical facility and when a clinician is interviewing a subject.
 • Victim and witness interviews will gen_erally not be recorded Body worn cameras will
    not be used during Sex Crime and Child Abuse Investigations.
 • Exception: Domestic Violence victims often recant their statements as early as the
    following morning after a crime. Victims may also make their children unavailable for
    investigations or court to avoid their providing statements. For these reasons, domestic
    violence victims with serious injuries, such as strangulation injuries are exceptions and
    their statements should be recorded if the victim is willing. Officers should also record
    the statements of children of domestic violence victims who are witnesses in these types
    of cases if the children are willing.
 0  Metadata should be entered at the conclusion of any event or as soon as possible
    thereafter.
 0  It is not the intent of the Department to review digital evidence for the purpose of general
    performance review or policy violations. Administrative review is limited to the
                                                                                         30
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  following: Officer Injury or death, Use of force by a member of the department, In-
  custody deaths, Police pursuits, Intentional and Unintentional discharges of a firearm,
  Officer involved traffic collisions, Preparation for trial proceedings, Internal Affairs
  investigations relating to a citizen complaint.
• Discovery of police misconduct during a review shall be reported to a supervisor by any
  Department member who views an event in question.
• Copying and releasing digital eviden~e to the public shall be treated like any other
  official record and handled accordingly pursuant to existing Department policies and
  procedures. All requests for video will be approved by the Chief of Police or his
  designee.
                                                                         u/\M~SMENT IN THE WORKPLACE
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                        · STATUS: Need                  to Know .                                                                                              Effective Date:
                                                                                                                                                               Revi_ew Date:
                                                                                             .i
                         -I.           ·PURPOSE

                                        The purpose of .this,policy ~ to maintain a_healthy working environment arid to provide
                                        procedures for reporting, investigation and resolution of complaints of harassment, sexual
                                        or otherwise.

                         II...          POLICY

                                    · It is the policy of this dep~ent that .all employees ·have the right to . work in an
                                      enviroiunent free of all forms qf harassment. · The department does not condone, and will
                                      not tolerate, any harassment. · tt'herefore, the department shall take direct and immediate
                                      action to pr~vent such behavipr, and to remedy all reported instances of harassment,
                                      sexual or otherwise.

                        ill.           PROCEDURES

                                     -A.           Pro~bited Activity

                                                   1.          No employee shall either explicitly or implicitly ridicule, mock, deride or
                                                              .belittle  ~n.    any                                 .     .

                                                   2.          Efilployees .shall not make offensive or derogatory comments based on
                                                               race, color, sex, religion or national origin either directly or indirectly to
                                                               another person. _Such harassment is prohibited form of discrimination              a
                                                               under federal law and is considered misconduct subject to approperiate
                                                               disciplinary action by this department~                                 ·
                                                                                                     i

                                                   3.          Sexual harassment is defined as unwelcome sexual advances, requests for
                                                               sexual favors, and other verbal or physical conduct of a sexual nature ·
                                                               when·                                                            -~;==-------
_;;.,;.,;..;~;;,;;.;;;;.;.;_:;.;;.;.;;;;~   =·;;;;;--·=·=----~;;.,;,....-~
                                      --- -=-
                                                           - -·-··-·- ...: - ~ ~ : ..,..;;.;,;~;,;.;;.;~:.;;;.".,.:.:,;.;,...:;.:.;;...~_.:;.,,;,.-...;-.;,;.;,,;.;.:.:.;,;;,:,;~·;~:..;..,;..;,;;;.~~;:.,;.;.;,;;-   .
                                                               a.              Submission to such conduct is made either explicitly or implicitly
                                                                               _a term or condition of employment; or

                                                               b.              Submission to or rejection of such conduct by an employee is used
                                                                               as the basis for employment decisions affecting the employee; or




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                             Policy
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  Harassment in the Workplace

                      · .            31
                    C.   -Such cQnduct has the purpose or effect of unreasonably interfering .
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  \                      with an employee's work performance or cr~ting an intimidating,
                         bostile, or offensive working environment.

                                 i
    B.    Employee's Responsitjilities .

          1.    ·-Each supervisor shall be responsible for preventing. acts of harassment.
                  This responsibility ~eludes:                  ·              ·         ·

                 a.      ~onitoring the unit work environment on a daily basis for signs
                         timt harassment may be occuping.
                                     I'                                                    .
                 b.      Counseling. all employees on the types of behavior prohibited, and
                         the depattment procedures for reporting and resolving complaints ·
                                ..   ' ..,
                         of harassment•

                c. . · Stoppiµglany observed acts that may be considered ·harassment, and
                                                                                          ·


                       taking appropriate s".eps to intervene, whether or not the involved
                       employ~ are within his line of~ision; and                      .

                d. .:    Taking immediate action to limit the work contact between two
                         employees · w~ere there has been a complaint of harassment,
                         ~ g investigation. ·                                       ·
                .                         i   . ..   .
         2.     Each supervisor \~ the ~nsibility tQ assist any employee of this
                department, who 'conies to that supervisor with a complaint of harassment,
                in documenting and filing a complaint with the internal investigations
                authority.

         3.      Each employee 9f this department is_~~psible .. for., assisting. in the
                ·prevention of harassment through the following acts:

                a.       Refraining from participation in, or encouragement of, actions that
                         could be perceived as harassment.



                c.       Encouraging any employee, who confides that he is being harassed,
                         to report these acts to a supervisor.




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                    •
                    !.      Employees encountering ~ment shall tell the person that their actions
                            are unwelcom~ and offensive. The employee shall document all incidents
                            of harassment in order to provide the fullest basis for investigation.
                              .              I                                        .        .
                            •       . •    . I        .

                   2.       Any employee· who believes '·that he is being harassed shall report the
                            incident(s) to his supervisor as soon as possible so that steps ·may be taken
                           to   protect thei employee from further harassment, and · appropri~te
                           inyestlgative ~d disciplinary measures may be initiated. Where this is not
                           practical, the employee·· may instead file a complaint with another
                           supervisor, witp the internal investigatio~ aut1'ority, or the chief of
                           police.    · .1
                                                 . . ~•: :.. .  :       ~




                           a.       The ~ r or other person to whom a complaint is given·.sha.ll
                                    meet wi4i the employee and document the incidents complained of,
                                   the person(s) performing or participating in the harassment, and the
                                   dateson  ~hich it OCCUITed. .
                                                !
                                                                         .        .
                           b.      The empioyee taking the complaint shall e~tiously deliver the
                                   complaint to th~ appropriate investigative. authority.             · .

                   3.      The internal Jvestigation authority shall be responsible for the
                           investigation of     any
                                             cpmplaint alleging harassment.
                                       .    •       I       •                                    ·,
                           a.      The ·mten,taI investigations authority shall immediately notify the
                                   chief_of police and the prosecutor's office.if the complaint contains
                                   evidence·of criminal .activity, such as battery, ~ or attempted .
                                   rape.

                           b.                The investigator shall include a _.4e.temunation ·: :whether otb.er
                · ·---· --~-----,.. ,,·.··-··employees are being harassed by the person, and whether other
                                             agency members participated in, or encouraged the harassment.
                                                        !




                           d.      A file of harassment complaints shall be maintained in a secure
                                   location. The chief of police shall be provided with an annual
                                   summary of these complaints.

                  4.       There shall be no fetaliation against any employee for filing a harassment
                           complaint, or assisting, testifying, or participating in the investigation of
                           such a complaint.

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               Safety Belt Usage
     c.     Off-duty
               .
                     responsibilitles;
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            1.      While off-duty, it is the responsibility of the police officer to Hnmediately
                    report any suspected or observed criminal activities to on-duty authorities.
                                    i
            2.     · Except ,as allo~ed by this policy, off-duty officers should not enforce·
                     summary offenses or miµor violations such as. harassment, ·disorderly
                     conduct or otqer quality-of-life offenses: On-duty perso~el shall be
                     contacted ·to ·rekpond to the situation where an off-duty officer becomes
                     aware of such violations.

            3.     Where. an arrestI is necessary,
                                               .
                                                   the. off-duty
                                                             .
                                                                 arresting officer shall abide by
                   all departinen~ policies and procedures. .
                     .             .i .
     D.     Prohibited off--ducy wiests: Police officers of this police department may .IlQt
            niake an arrest off-dutj\:               ·                       ·

            1.    . When the a{festihg officer is personally.involved in the inciden~ underlying
                    the arrest; or \
                                        ;


           2.      Wb~ ~n~ged in off-duty employment of a non-polic~ nature, and the .
                   officer's actionsi are only fu furtherance of the interests of the private
                                        1
                   employer.

           3     . Wh_en the arresi is made . solely as enforcement of ·a · minor traffic
                   regulation. Despite the· fact that a police officer has police powers and
                   responsibilities 2~ .hours a day throughout the jurisdiction, the off-duty
                   o~cer should no~ enforce minor traffic regulations.        ·

           4.       When the arremng officer is, or has been, consuming intoxicating
                  ..beye~z.~: .,




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                                       oFF nuTY cbNnucT: POWERS oF ARREST

                  STATUS: Need to Know                                                                                                                 Effective Date:
                                                                                                                                                       Review Date:·


                  I.          · PURPOSE
                                       .                                                            I                                 .                                 ...                    .
                                The purpose of this policy is to provide guidelines to police officers regarding acceptable
                                criteria for effecting an off-duty arrest.

                 II. :          POLICY
                                                                                            ,       \

                               In 9rder to promote safety and ~~·most efficient operations, it is the policy of this agency
                               to determine and regulate thos~ situations and locations within which a sworn member is.
                               permitted to       an      make arrestwrle
                                                                   off-duty.                                        .

                Ill.           PROCEDURES                                                               l       •

                                                                                                    i ,
                               Off duty officers are often faced with situations involving criminal conduct that they are
                           · ·neither equipped nor prepared to handle in the same manner as if they were on duty. This
                               may lead to unnecessary ·injuri~ to off-duty officers, and _confusion for those on-duty
                             .
                              offic~rs arriving at the seen~ trying
                                                                '
                                                                    to correctly assess the facts.
                                                                                       .       -.

                               A.            :Permitted off-quty ~ : When off-duty and witltjn tlie legal jurisdiction of this
                                             police department, a police officer may make ·an                                                      arrest only when: ·
                                              1.         The arresting officer is not personally involved in the incident mfoerlying
                                                         the arrest, (Personally involved: Where the off-duty officer, a family
                                                         member, or a. friend becomes engaged in a dispute ~ --W~~4~JJ.t with._a .•
                                 .,. ~,,.... , .... . ,. person:·tcr·be arreste(i" or any other persoi1 cpruiecte<f with thc incident.
                                                         This does not atJVlY to situations where the police officer himself is a
                                                         victim of crime); and                        .
                                                                                                            i
                                ·             2.             There is an immepiate need for the preven~~11 -~.f.?-_qin.:i~ Qt1:1,p .r ~. --- --;;;._.,.;.;,.;;~
....,;·~·-;.:;;--;,;;.;
                  --·; ; .;-;:;,;·=·---.--
                                         ----
                                            ·--
                                              ·-;.--·---:=:;:··---~a.;..S.u ~ ti-.;;;an€l~:..;.:..;..;~;e~ -.:. .:.·.:·.. -~_,. .;:. ;-, ,.;.. .~7,.,~~~=;.;~~~.--.~-.:,,c:.




                                              3.             The crime would be charged as a jailable offense requiring a full custodial
                                                             arrest; and


                                              4.             The arresting officer is in possession of appropriate police identification.


                                                                                                                    l.
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                       LAW ENFORCEMENT CODE OF ETHICS

 As a law enforcement officer, my fundamental duty is to serve mankind; to safe-guard lives and
  property; against oppression or intimidation; the peaceful against violence or disorder, and to
            respect the constitutional rights of all men to liberty, equality, and justice.

 I will keep my private life unsullied as an example to all; maintain courageous calm in the face
 of danger, scorn or ridicule; develop self-restraint; and be constantly mindful of the welfare of
 others. Honest in thought and deed in both my personal and official life, I will be exemplary in
   obeying the laws of the land and regulations of my department. Whatever I see or h~ar of a
   confidential nature or that is confided to me in my official capacity will be kept ever secret
                    unless revelation is necessary in the performance of duty.

 I will never act officiously or permit personal feelings, prejudices, animosities, or friendships to
    influence my decisions. With no compromise for crime and with relentless prosecution of
criminals, I will enforce the law courteously and appropriately without fear or favor, malice or ill
        will, never employing unnecessary force or violence and never accepting gratuities.

I recognize the badge of my office as a symbol of public faith, and I accept it as public trust to be
  held as long as I am true to the ethics of police service. I will constantly strive to achieve these
 objectives and ideals, dedicating myself before God to my chosen profession, law enforcement.




                                                                                     Officer' s Name




Note: This code has been officially adopted by the International Association of Chiefs of Police
and many law enforcement agencies.
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                              EMPLOYEE POLICY MANUAL
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                                      (l).T~.~~L~
               LEXIN,GTON POLl,CE DEP,ARTM,ENT
                                      .,     --          .       .      .                             . ···-···. ~    ··-


                                           .             · :TASER USE REPORT
     Datemme:     l'.a-3\-,2
                  --...  , . I..
                         .   -:
                                           T/\SER offic~rs           ~;~e: ftc : ·tw::; •·. ·
     E-mail: -----,..-,--___,_-.,...
                     ,··.   '  . .
                                    _ _ _ _ _ Department: -"------'----'---'-------'--~---'-,

     Dept Address.     L) 7 \ (:x-\~()._ .
   · Suspects Name

    On Scene Su~en7isor:~~ ~ l l i r 6 Office·r(s) ·lnvdlved: _...:(s,._,_·_._______

    TASER® Model (check one):        ✓,-ASER X26 _               ADVANCED TASER M26

    If an ADVANCED TASER M26 Was Used, W~at I;3attery Type: _. _ Alkalfne _ . NiMH Rechargeable

    TASER Cartridge Type(s):                21-ft Standard                   21 ~ftXP · ·       25-ft Standard                 25-ftXP
                                            35-ft XP         V- 15-ft

   TASER _Serial #: W)-!JD3>o4~Medical Facility:                            iJ/ 'A.           Doctor: --A,,,tfl)/-f-k.~_         _
   Nature of the Call or Incident: ~,:S:,, S!Rn~arges: ~                                            '°D ~~b'o\ed:QJ/ N
   Type of Subject: ✓ Human                Animal
                                                                                     •
   Location of Incident: ( ) Indoor    (Ji Outdoor ( ) Jail ( ) Hospital
   Type of Force Used (Check all that apply):                 (~Physical ( )Baton ( )Impact Munition
                                                              ( )Chemical ( ) Firearm

   Nature of the Injuries and Medical Treatmerit Required: _---!.\J=o:...:.n---=-::~----------

  Admitted to Hospital for Injuries: Y     1ID                              Admitted to Hospital for Psychiatric: Y               ,®
  Medical Exam: Y      ,®         Suspect Under the influence:~/ Drugs (specify);~ ~ ~ ~

  Was an officer/faw enforcement employee injured other than by TASER? Y                              1@
        -     ,
  Incident Type (ci~cle appr9priate response(.$) below):

, (civil Disturbance') $uicidal . . Suicide by Cop            Violent Suspect · Barricaded                           ~arran!
                                                                                                                                   .
                                                                                                                                .Other

  Ag~: ·oh\'::} Sex: \--\  ·Height:            {..' 3.       Rae~: , ~ \      K  j
                                                                                         WeifJht:   c.O L
              '
  Was a TASER CAM in ~se? Y          ;(w
 TASER use (circle one): ~ccBS§)/ Failure                                   Suspect wearing heaving or loose clothes: Y                  1lli)
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    Number of cartridges fired:      I                             Number of cycles applied: _..,___ _

    Usage (check one): ( ). Arc Display
                        '        '  .
                                        Only
                                           :.,
                                                 (i Laser Display Only ( ) TASl;HApplication
                                                              -·    . -.·.        .      .   .   .   .


    TASER: Is this a dart probe contact:@ N                              · Is this a drive stun contact: Y    ®
  · Approximate target distance at the tim~ of the dart faunch:·      ID
                                                                    ---'----           feet

    Distance between the two probes:< _    _,LJ)=---- inches ,               Need for an additional shot? Y    ;@
   Did dart contacts penetrate the subject's skin?@! N                       Probes re~oved on. scene:Q; N

   Did TASER application cause injury: Y 1(fj) If yes, was the subjecttreated for the injury: G)/N

   DESCRIPTION OF INJURY:
                ~\:;:P$           ,I'\ :t:>"b,.D • .R-ep:over:-\ D'-\                 ·~ec),c... .


                                        APPLiCATION AREAS
                   (Place "X's" where pr9bes h!t suspect AN~ "O's 11 where stµnned)




 Need for additional applications? Y / N Did the device respond satisfactorily? Y N

 ~the TASER deployment was unsuccessful was a DRIVE STUN followup used? Y                        ,®

11--,e_ 'Sub\~ ~ ~ " t o'bt:>c:i\1-,,\'\~, ~ ~ ~~~ c:.u-cl. ~~~ b.\ ~~ to
't~""""-OV~-C:. ~~~ ~ ~ ~~~~\\\.~                                                     ~~ltl~00,
. . . ......
                     Case 3:22-cv-00479-TSL-MTP             Document 61-5         Filed 11/07/22        Page 45 of 58



                    Describe the subject's demeanor after the device was used or displayed?
                    ¥e.- "-X:c ~ ,mo <L, ~\l:£\u\                                          .




                Chemical Spray: Y     ®                    Baton or Blunt Instrument: Y   1@)
                Auth;rized control holds: Y   .@          If yes, what types: _\lm"~--...tc-.......~ 1 - - - - - - ~ - - - - -

                Describe other means attempted to control the subject - - - - - - - - - - , - - - - - -

                Photographs Taken: Y .(ff)                        Report__Qompleted by:
                                                                         k-'t>?S

                                                       ADDITIONAL INFORMATION




               1.    Save this file to your hard drive and for your department archives.
               2.    Submit this report to the national TASER technology incident database.
               3.    Results of uses are reviewed by TASER lnt'I to adjust training issues and concerns as well.
               4.    Email this copy to Andrew@TASER .com. If you cannot email, please fax a copy of this report to:
                     (480) 991-0791 Attn: Andrew Hinz (Ph: 800-978-2737 ext. 2048).             1,
           Case 3:22-cv-00479-TSL-MTP         Document 61-5     Filed 11/07/22    Page 46 of 58

                         Arrest Report                                Lexington Police Department
         1cer                                                                                     ate
      Cordarius Epps                                                                         12/31/2021

 Last-                                   First     IIIJIII                   Mi

Address                                            City--                    State. Zip11111)

D.0.B.                  Height 6'3            Weight 202
                                                                           --
                                                                     Race 1B           Sex~



DL#
                             Eye IBRO

                                      SSN#
                                                         ----
                                                   Hair IBLK

                                                                       Phone #s


                             Scars or Marks

                                                                          Alias
Age at Arrest




         Occupation    none


          Employer     none




Charges Failure to comply




  Bond

                                                     I
          Ticket or Aff. #
                                               I



                                                                                   PAGE# 1
      J     Case 3:22-cv-00479-TSL-MTP         Document 61-5      Filed 11/07/22    Page 47 of 58

                        Arrest Report                                  Lexington Police Department

                                ARREST REPORT

Case#

                                     NARRATIVE
  (INCLUDE IF PHOTOS WERE TAKEN, FINGERPRINTS AND EVIDENCE IF ANY SECURED AT LOCATION AND ANY
                              OTHER INFORMATION VITAL TO REPORT)


 Qn--12/31/2021 Officers_w.ereu:Hspatched to Pecan_Gmve for fireworks_after:..iQpm Chief Dobbins arrived
 onAtb_s_tre_etio_me_e.Lwitb------Toe__subject was instructed it was past time to stop shooting
 fireworks He gowps_e_tandlold me to stop fucking___wi_th_him Then his brother _got started screaming___
 p_rofaniiy_at_C_h.ieillobbins-oLe_memeLy_aggrnssive_towards Chief..DnhbJns_.__He_chargerl
mwar_cLGbief..Dobbjns_in_an____aggr_essl'i_e_ma□_oL__Qfc_Epps told him tQS1aµ1ack and he continu,-
                                                                                                e-d ~to~ - -
.charg_e_to_rward Ofc Epps tased the subject and took him into custody._Ihe_suhject was transported to
hooking He was treated and released by medstat to remove the prongs He was cleared medically Ha_
1b.en_b_ond~e~d~o- u- ~ - - - - - - - - - - - - - - - - - - - - - - - - - - - - - -




                                        ADDITIONAL SHEET ATACHED YES O                       NO □ ·
OFFICER'S SIGNATURE

SUPERVISOR APPOVAL DATE:                        SUPERVISOR DISAPPROVAL DATE:

BY:                                                                                      PAGE#2
Case 3:22-cv-00479-TSL-MTP      Document 61-5   Filed 11/07/22   Page 48 of 58




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   R£qn~to~•s    Sigua~~~.....,.._.___________..         ;ate: ~·g..+-1~
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   Ple~se submit this, request to:

                 City of Lexington
                 112-~
                 .        · Street.
                     ":'l"qng
                 Lexington, MS ~9095
                 662-834-1261




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     Case 3:22-cv-00479-TSL-MTP                  Document 61-5             Filed 11/07/22       Page 49 of 58
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                                                                             I


                                               Lexington Police Department

                                                  Public Complajnt Form




     Date·Complaint ~led:       g - Cf, 2 J             Public Official's name:
                                                                                  ---------
     ComplainaQ~S name:         La.S t:a tvn . /( '1 z. er
     Add'.ess·:   Jt71: C,J>/(eqe ~~r.
                                     L01tVl~it1? (Y\5 ·._31,t) q,,c-
     Phone: Home: _ _ _ _ _ Cell: lf>u, 2 ,. '7 3 I,... 01 &'& · · ·

                                                Lash
     By filing this. repo_rt, I.u~der~tand that, I,      a.;l41  Kif ~'1J Chy'   t ef'   5a«,, f)dhb ~19-f1e.
     subject to an inve.stigation by the Lexington Polic~ Department. Further more, I_swear that this
                  is
     staten:i.~nt true a"n·d I may be charged for filing a false report on t~e public offfcial listed above.
     I •           •    •                                              •                                       •




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                                                             Chief of Police: - , - - - - - - - - - - -
Case 3:22-cv-00479-TSL-MTP             Document 61-5      Filed 11/07/22                    Page 50 of 58




                                     City of Lexington
   BOARD MEETS EVERY 1sr TUESDAY OF EACH MONTH; REQUEST-MUST BE IN BY ·
                 12 NOON FRIDAY BEFORE THE :J.sr TUESDAY.

                                       REQlJEST OF AGENDA




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  Reqnffia~•s S~ture:                dl~.)                          . ..r

                                                                   · Date:

  Ple~se ~ubmit this,request to:

                       City-or Lexington
                       112-~riug Street
                       Lexm.gton, MS ~9095
                       662-834-1261




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Case 3:22-cv-00479-TSL-MTP                                  Document 61-5                  Filed 11/07/22       Page 51 of 58



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                                                           City of Lexingto                                    )i_,     -✓   I




                                                                REQlJEST OF AGENDA


  . Person-Requesting:    fly1 'I-%
                            j)1 y       tB Ru~ ..-~ ,-~ ·, _:.·: . .,,:.; .·.
    Repres~nting: fl (la d Q .           .    .-.·-~··• \>. ~- :.
      Street/Mailing Address: fZa (Q iJ X I 4 ~ -. .- :-'-· .,..::, ;• . ·.· -
      City, ~tate, Zip: {                  .-e
                              X Jh: J 3 1 Do/ 7 · ·· • ·· ·:: : · :- : ·
      Home Phm1e: (ec/- ~C, f- f p9D &st Time to Call:•_.-L-,d..!.- . .:_.,v__.y~
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      Cell r&one:_(od (-lo ICJ (pk, D                 f-        z
      Agenda Requested (Please be as clear and concise as possible.):
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      Requestor's Signature.                                                                       · Date: ·    4)c.A:- I UJ z_/
      Please submit this request to:

                             City of Lexington
                             ~12-Spting Street
                             Lexington, MS ~9095
                             662-83~1261




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  Case 3:22-cv-00479-TSL-MTP
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                                                               Document 61-5                    Filed 11/07/22                  Page 52 of 58
              I                                                                                        I


                                                              Lexington Police Department

                                                                   Public Complaint Forni




                                                                                                                                                                                         J
    Phone: Home: - - - - - - -

   By filing this report, I.w1derstand that, I, ·                        and - - - , - - - - - - - - may be·
   subject to ari investigation by the Lexington Poi ice Department. Further more, I,swear that this
   staten,:i_ent is· true an·d I may be chargeq for filing ~ false report on t~e public official listed above.                                                                      ·e
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      Case 3:22-cv-00479-TSL-MTP                           Document 61-5               Filed 11/07/22             Page 53 of 58
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           I




                                                      Lexington Police Department

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     Date·Complaint filed:           {:J,-J ~ ,2 u-'L/             Public OfficiaFs mime: _ _...,.__ _ _'--~-'-

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    Address·:                  0              .   ~ '. .       i
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    subject to ari investigation by the Lexington Poh e Department. Further · · , I$wear that this ·

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                   is true anc1 may be qiargeq for fiJipg ~ false feport ~n tpe public official listed above. .
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Case 3:22-cv-00479-TSL-MTP     Document 61-5   Filed 11/07/22   Page 54 of 58




                                REQUEST OF AGENDA




   Juqnestor'sSignatnre:~                ~ ~re: /Z.,-2-,✓ioz/ .
   Ple~se submit this.request to:

               City of Lexington
               112.Sprjng Street
               Lexington, MS ~9095
               662-834'-1261
Case 3:22-cv-00479-TSL-MTP               Document 61-5           Filed 11/07/22              Page 55 of 58




       BOARD MEETS EVERY 1sr TUESDAY OF EACH MONTH;                                                             BEINBY :
                     12 NOON FRIDAY BEFORE THE Jsr TUESDAY.

                                               REQUEST OF AGENDA


      Person··Reqo~tw..;::z· --+-...........
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      City, State, Zip ~_,,_..L.L.!<::.l.4+~-¾=--1...!-l<..l~....!.....!J..fLJ..I-A~~'-L.::=:;_t.__-r-----~
      Home Phone: - - - - - -
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      Agenda Requested (P~ease be as clear and concise as possible.):




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      Ple~se ~ubmit this request to:                                                                                          ~
                        City of Lexington                                                         ~\

                        112· Spring Street
                        Lexington, MS ~9095
                        662-83~1261


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                       Case 3:22-cv-00479-TSL-MTP              Document 61-5          Filed 11/07/22                 Page 56 of 58




                                                              City of Lexington
                              BOARD l\fEETS EVERY 1ST TUESDAY OF EACH MONTH; REQUEST MUST BE IN .BY ·
                                              12 NOON FRIDAY BEFORE THE JsrTUESDAY.

                                                                   REQUEST OF AGENDA


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                             Person·Requesting:
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                            Requestor's Signature: mt. .I }L./.r- ~t,., li..--f;ei{,,e{'I( Date.:                     ·/ 2 /c:z,:t/ ..2/
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                                              City of Lexington
                                              i12-~piieg Street
                                                                                                                                 ~. -
                                              Lexington, MS ~9095
                                              662-834-1261




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Case 3:22-cv-00479-TSL-MTP                Document 61-5            Filed 11/07/22            Page 57 of 58




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      Person·Requ:eso~
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                       City of Lexington
                       i12-~ring Stree~
                       Lexm.gto~, MS ~9095
                       662-834-i-1261
      Case 3:22-cv-00479-TSL-MTP   Document 61-5   Filed 11/07/22        Page 58 of 58




                               City of Lexington .
          BOARlJ ldEETS EVERY 1ST TUESDAY OF EACH MONTH; REQUEST MUST BE INBY ·
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         Agenda Requested (Please be as.clear and concise as possibleo): . -
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                    City of Lexm.gton
                    J12'Spring Street
                    Lexington, MS ~9095
                    662-834-1261




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